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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION

DALANEA TAYLOR et al


-vs-                                                       Case No. 8:21-cv-555-SDM-CPT

CHRIS NOCCO

                                  CLERK’S MINUTES
                               Proceeding: Status Conference
                                    Zoom videoconference

Judge: Christopher P. Tuite, U.S. Magistrate Judge               Date: February 9, 2022
Deputy Clerk: Ashley Sanders                                     Time: 11:04 a.m.
Law Clerk: Wilma Metcalf                                         Recess: 11:41 a.m.
Court Reporter: Digital                                          Total Time: 37 min


Counsel for Plaintiff: Rob Johnson and Ari Bargil
Counsel for Defendant: Thomas Poulton


Court calls case and counsel enters appearances.

Court reviews status report filed on 2/4/2022 (Doc. 68).

Status conference to be set by separate notice.

Recess.
